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Case: 1:01-cr-01098 Document #: 473 Filed: 06/07/05 Page 2 of 19 PageID #:1530
Case: 1:01-cr-01098 Document #: 473 Filed: 06/07/05 Page 3 of 19 PageID #:1531
Case: 1:01-cr-01098 Document #: 473 Filed: 06/07/05 Page 4 of 19 PageID #:1532
Case: 1:01-cr-01098 Document #: 473 Filed: 06/07/05 Page 5 of 19 PageID #:1533
Case: 1:01-cr-01098 Document #: 473 Filed: 06/07/05 Page 6 of 19 PageID #:1534
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Case: 1:01-cr-01098 Document #: 473 Filed: 06/07/05 Page 8 of 19 PageID #:1536
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Case: 1:01-cr-01098 Document #: 473 Filed: 06/07/05 Page 10 of 19 PageID #:1538
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Case: 1:01-cr-01098 Document #: 473 Filed: 06/07/05 Page 12 of 19 PageID #:1540
Case: 1:01-cr-01098 Document #: 473 Filed: 06/07/05 Page 13 of 19 PageID #:1541
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